   Case: 1:21-cv-05752 Document #: 259 Filed: 09/27/24 Page 1 of 2 PageID #:2018




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DEREK KHANNA, individually and derivatively )
on behalf of Shimbly Corporation,           )
                                            )
         Plaintiff,                         )
                                            )             Case No. 21-cv-5752
v.                                          )
                                            )             Hon. Judge Virginia M. Kendall
                                            )             Magistrate Judge Keri Holleb-
                                            )                      Hotaling
KATELYNN BANKS, et al.,                     )
                                            )             JURY TRIAL DEMANDED
         Defendants.                        )
___________________________________________ )

                        NOTICE OF WITHDRAWAL OF COUNSEL

       Undersigned counsel submits the following notice of withdrawal of counsel for Plaintiff

Derek Khanna, individually and derivatively on behalf of Shimbly Corporation, pursuant to

Northern District of Illinois Local Rule 83.17. Attorney So Young Lee no longer represents

Plaintiff effective September 27, 2024, and now should hereby be withdrawn as counsel of record.

Hillard Sterling with the law firm of Roetzel & Andress, LPA shall remain as counsel for Plaintiff,

Derek Khanna, individually and derivatively on behalf of Shimbly Corporation.


Date: September 27, 2024                            DEREK KHANNA, individually and
                                                    derivatively on behalf of Shimbly
                                                    Corporation


/s/ Hillard Sterling                                /s/ So Young Lee
Hillard Sterling (6232655)                          So Young Lee (6330012)
ROETZEL & ANDRESS, LPA                              ROETZEL & ANDRESS, LPA
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Telephone: 312.580.1200                             Telephone: 312.580.1200
   Case: 1:21-cv-05752 Document #: 259 Filed: 09/27/24 Page 2 of 2 PageID #:2019




                                 CERTIFICATE OF SERVICE

       I certify that on this 27th day of September, 2024, I electronically filed the attached Notice
of Substitution of Counsel Within the Same Firm with the Clerk of the Court using the CM/ECF
system, and that service will be accomplished by the CM/ECF system to all counsel of record.



                                              /s/ So Young Lee




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